 PS8
 (8/88)
                             UNITED STATES DISTRICT COURT
                                          for
                                      NEW MEXICO

 U.S.A. vs Epifanio Espinosa                                Docket No. 1:21CR01326-MV-1




                               Petition for Action on Conditions of Pretrial Release

 COMES NOW Delma Marrufo-Ramos PRETRIAL SERVICES OFFICER presenting an official report upon
 the conduct of Epifanio Espinosa, who was placed under pretrial release supervision by the Honorable John F.
 Robbenhaar, United States Magistrate Judge, sitting in the court at Albuquerque New Mexico, on October 15,
 2021, with conditions which included the following:

     1. (7)(l) The defendant must not use alcohol at all.

  RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT AND FOR CAUSE AS FOLLOWS:

On November 9, 2022, the defendant tested positive for alcohol. The defendant admitted to consuming alcohol.
The defendant has four prior consecutive positive tests for methamphetamines.


PRAYING THAT THE COURT WILL ORDER A WARRANT FOR THE DEFENDANT'S ARREST

                                                    I declare under penalty of perjury that the foregoing is true and
                                                    correct.

                                                    Executed on: November 23, 2022




                                                    Delma Marrufo-Ramos
                                                    United States Probation Officer
                                                    Albuquerque, New Mexico
